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                                                                            Chris Kachouroff <chris@mck-lawyers.com>



Coomer Resp
Jen DeMaster <Jennifer@demasterlaw.com>                                                      Mon, Feb 24, 2025 at 2:42 PM
To: Chris Kachouroff <chris@mck-lawyers.com>


 Chris – here are the only changes/edits I made:



        Found a few cases that were not accurate or properly cited. Replaced those and added a few other relevant cases
        in legal standards section and a couple other subsections.
        Changed minor language to clarify the argument you were trying to make where it was otherwise unclear on its
        face.
        Changed some of the numbering to add bullets so to ease any unnecessary confusion, and where I saw might be
        needed, removed “bullet lists of cases” to incorporate into a paragraph– but I did this sparingly.



 I read everything you were trying to convey and made sure that was clearly stated. Put it in formatted document for case
 filing and left it in Word Doc format for any edits you want to add.



 Let me know what else I can do!




                Jennifer DeMaster

                Attorney, DeMaster Law LLC




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                                                                                  Chris Kachouroff <chris@mck-lawyers.com>



Coomer_FINAL revisions
1 message

Jen DeMaster <Jennifer@demasterlaw.com>                                                              Mon, Feb 24, 2025 at 5:08 PM
To: Chris Kachouroff <chris@mck-lawyers.com>


 Chris, see FINAL REVISIONS – full doc with formatting here. NOTE – that I did add some case law and language to
 certain sections for clarity. Just read through this. Specifically, my edits clarifying relevant *legal standards, and sections
 on social media evidence, the body cam footage (expounding on issues), and prior drug use/mental health pre-existing
 conditions as well as statements about Trump that I thought should be fleshed out a little more. (really following your
 guidance on providing more facts/analysis).



 ***I have also attached a Westlaw analysis of the entire brief – that basically goes through our brief and finds other cases
 that may be stronger. Note that I have already ADDED some of these cases or otherwise substituted them. This tool will
 find cases you cited that aren’t good or otherwise relevant in a brief. While I didn’t sub them out completely, I used it to
 justify what we’ve added. Attached is the “full report” if you want to double check it for yourself. But it didn’t flag us for any
 obviously bad case law.




                  Jennifer DeMaster

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      512K
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    1. Recommendations
    Quick Check uses Artificial Intelligence to analyze the document for arguments and facts to uncover relevant case
    law. Recommendations contains cases and other materials relevant to the issues in the analyzed document but
    that were not cited in it.


       I. Evidence of Mr. Coomer's Credibility and Honesty is Relevant and Admissible.

    Cases (2)



              1. United States v. Edwards
             United States District Court, D. New Mexico. • August 22, 2017 • 272 F.Supp.3d 1270 • 2017 WL 3701235

             Case details
             Motion type: Motion in limine
             Movant at trial level: Plaintiff


                     Outcome: Proffered evidence was not admissible under rule governing evidence of a witness's
                     character for truthfulness or untruthfulness


             When analyzing the probative dangers, while applying rule precluding admission of evidence whose
             prejudicial effect outweighs its probative value to evidence offered under rule allowing admission of similar
             crimes evidence in sexual assault, a court considers: 1) how likely is it such evidence will contribute to an
             improperly-based jury verdict, 2) the extent to which such evidence will distract the jury from the central
             issues of the trial, and 3) how time consuming it will be to prove the prior conduct. Fed. R. Evid. 403, 413.

             Proffered evidence of allegations by defendant's teenage daughter that defendant sexually abused her, her
             denial of those allegations, and testimony of witness that defendant was rumored to have had inappropriate
             sexual contact with his children was not admissible under rule governing evidence of a witness's character for
             truthfulness or untruthfulness, in prosecution of defendant charged with aggravated sexual abuse; allegation
             that defendant sexually assaulted his daughter did not involve defendant's character for truthfulness or
             untruthfulness, nor did such evidence involve dishonesty, fraud, or deceit. 18 U.S.C.A. SS 1153, 2241(a),
             2246(2)(B); Fed. R. Evid. 608.


               This Recommendation relates to cases already cited in the analyzed document
                      United States v. Begay 497 F.Supp.3d 1025
                      World Wide Ass'n of Specialty Programs v. Pure, Inc. 450 F.3d 1132




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              2. United States v. Boutte
             United States District Court, D. New Mexico. • September 09, 2019 • Not Reported in Fed. Supp. • 2019
             WL 4261745

             Case details
             Motion type: Motion in limine

             Defendant Boutte opposes the motion because he contends the Federal Rules of Evidence define the bounds
             of character evidence. Specifically, he argues that Federal Rule of Evidence 405 allows parties to use certain
             specific instances of character and traits as evidence and a blanket prohibition on all specific instances of
             good conduct would be improper. He contends that specific instances of a defendant's truthful or honest
             conduct are admissible when fraud is an essential element of the charges.


               This Recommendation relates to cases already cited in the analyzed document
                      World Wide Ass'n of Specialty Programs v. Pure, Inc. 450 F.3d 1132
                      Perrin v. Anderson 784 F.2d 1040



    Briefs & Memoranda (2)

              1. Defendant J. Thomas Talbot's Opposition to Plaintiff's Motion in Limine to
              Preclude the Admission of Character Evidence; Declaration of Robert H. Horn
             United States District Court, C.D. California, Western Division. • October 12, 2005 • 2005 WL 4705017


              2. Motion to Strike Plaintiffs' Response Brief, Cross-motion, Witness
              Declarations, and Summary Exhibits
             United States District Court, E.D. Wisconsin., Milwaukee Division • July 10, 2008 • 2008 WL 3925506


    Secondary Sources (2)

              1. § 404:2 Rule 404(a)(1): character evidence; circumstantial use in civil cases
             November 08, 2024 • FEDEVID § 404:2




              2. Admission of Character Evidence and Evidence of Other Acts
             November 05, 2024 • 21 AMJUR POF 3d 629




       II. Evidence of Mr. Coomer's Statements About President Trump and Law Enforcement is
       Relevant to Core Issues.

    Cases (3)



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              1. Competitive Enterprise Institute v. Mann
             District of Columbia Court of Appeals. • December 22, 2016 • 150 A.3d 1213 • 2016 WL 7404870
                Frequently cited           High court

             Case details
             Motion type: Motion to dismiss                                  Trial level outcome: Motion denied
             Movant at trial level: Defendant


                     Outcome: There was no evidence that professor suffered severe emotional distress.


             There was no evidence that university professor suffered severe emotional distress as a result of online
             articles that accused him of scientific misconduct and compared him to university figure involved in child sex
             abuse scandal, as required to support professor's intentional infliction of emotional distress claim; although
             fact that professor had requested an apology and retraction and pursued litigation may have shown that
             professor was so deeply aggrieved that he deemed it necessary to restore his public reputation, such
             consternation did not amount to severe emotional distress.



              2. Gilmore v. Jones
             United States District Court, W.D. Virginia, Charlottesville Division. • March 29, 2019 • 370 F.Supp.3d
             630 • 2019 WL 1418291

             Case details
             Motion type: Motion for attorney's fees


                     Outcome: Plaintiff stated a defamation claim against defendants


             Diplomat who posted video on social media depicting violent attack he witnessed at a white supremacist
             rally in Virginia that resulted in a protester's death plausibly alleged that website owner's statements in online
             article and video accusing diplomat of having foreknowledge that attack would happen and was part of
             effort to use rally to undermine the United States President and the "alt-right," were false, defamatory, and
             published with actual malice, as required for diplomat to state a defamation claim as a limited-purpose public
             figure under Virginia law; statements could not be characterized as mere expressions of opinion, they were
             of type that would tend to harm plaintiff's reputation and prejudice him in is profession or trade, and plaintiff
             plausibly alleged that defendant had preconceived narrative to which he made his statements conform and
             failed to adhere to journalistic standards.



              3. Cuba v. Pylant
             United States Court of Appeals, Fifth Circuit. • February 23, 2016 • 814 F.3d 701 • 2016 WL 723311
                Frequently cited




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             Case details
             Motion type: Motion to dismiss                                  Appellate level outcome: Reversed trial court's
                                                                             decision
             Movant at trial level: Defendant

             Under Texas law, statements to police and prosecuting authorities by purported victim and her parents
             regarding alleged rape, in course of bona fide investigation in contemplation of filing charges, were absolutely
             privileged, and thus could not form basis of alleged rapist's defamation claim, even if purported victim's initial
             statements were false and made with malice.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (0)
             No secondary source recommendations provided for this heading, but please review cases and briefs for
             additional recommendations.



       III. Evidence of Prior Drug/Alcohol Use and Mental Health History is Relevant to Rebut
       Damages Claims.

    Cases (5)



              1. Leininger v. United States
             United States District Court, D. Kansas. • November 02, 2020 • 499 F.Supp.3d 973 • 2020 WL 6392458

             Case details
             Motion type: Judgment                                           Trial level outcome: Motion granted


                     Outcome: Award of $228,213 in economic damages was reasonable and supported by the evidence


             Award of $228,213 in economic damages to allow patient who had post-traumatic stress disorder (PTSD) and
             depression before he learned that Veterans Administration (VA) medical employee, a physician's assistant,
             had conducted unnecessary and improper genital examinations on him for sexual gratification, conditions
             which were aggravated and would remain aggravated by employee's conduct, to seek treatment for his
             PTSD outside of resources provided by the VA was reasonable and supported by the evidence, in patient's
             action against the United States under the Federal Tort Claims Act (FTCA); requiring patient to return to VA
             for treatment necessitated by wrongdoing inflicted on him by VA provider was unfair and illogical, and there
             was credible evidence that treatment outside the VA was valued at $229,213. 28 U.S.C.A. S 1346(b)(1).




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               This Recommendation relates to cases already cited in the analyzed document
                      United States ex rel. Alexander Volkhoff, LLC v. Janssen Pharmaceutica N.V. 945 F.3d 1237
                      Jones v. Denver Post Corp. 203 F.3d 748




              2. Ledezma v. Young Life
             United States District Court, D. Colorado. • January 08, 2021 • Not Reported in Fed. Supp. • 2021 WL
             2823261

             Case details
             Motion type: Motion for reconsideration

             The same conclusion, however, cannot be drawn about Ms. Ledezma's prior trauma with respect to her
             demand for damages. Ms. Ledezma is correct that a plaintiff's filing of a lawsuit claiming emotional distress,
             without more, does not necessarily put an individual's mental state at issue. See Truong v. Smith, 183 F.R.D.
             273, 275 (D. Colo. 1998) . And this court also agrees that to the extent that Ms. Ledezma's history of trauma
             made her claustrophobic and particularly sensitive to working in tight spaces with others, that information is
             also not relevant to the issue of damages. [#35 at 11].


               This Recommendation relates to cases already cited in the analyzed document
                      United States ex rel. Alexander Volkhoff, LLC v. Janssen Pharmaceutica N.V. 945 F.3d 1237
                      Jones v. Denver Post Corp. 203 F.3d 748




              3. Doe P.M. v. United States
             United States District Court, D. Kansas. • November 02, 2020 • Not Reported in Fed. Supp. • 2020
             WL 6469996

             Case details
                                                                             Trial level outcome: Motion granted

             29. Plaintiff also seeks to recover on an intentional infliction of emotional distress claim. But the court already
             has determined that plaintiff is entitled to recover from the VA on his medical malpractice claim. Any recovery
             for intentional infliction of emotional distress would duplicate plaintiff's malpractice claim, so the court need
             not address the claim further, other than to note this point: To the extent that plaintiff is still trying to bring
             this claim against the VA for actions (or inactions) by Wisner's supervisors, he may not do so. Plaintiff
             administratively exhausted claims solely for Wisner's personal conduct. [A]lthough a plaintiff's administrative
             claim need not elaborate all possible causes of action or theories of liability, it must provide notice of the
             facts and circumstances underlying the plaintiff's claims.




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               This Recommendation relates to cases already cited in the analyzed document
                      United States ex rel. Alexander Volkhoff, LLC v. Janssen Pharmaceutica N.V. 945 F.3d 1237
                      Jones v. Denver Post Corp. 203 F.3d 748




              4. Schlenker v. City of Arvada
             United States District Court, D. Colorado. • June 02, 2010 • Not Reported in F.Supp.2d • 2010 WL 2232356

             Case details
                                                                             Trial level outcome: Motion granted

             Plaintiff, on the other hand, contends that he claims only garden variety emotional distress damages for
             which Defendants are not entitled to a highly invasive Rule 35 examination of him. Response [# 155] at 3.
             Plaintiff further contends that Defendants seek the examination to harass, embarrass, intimidate and further
             damage him in retaliation for having filed this lawsuit. Id. at 3 4. Plaintiff asserts that his pre-existing condition
             is wholly unrelated to these proceedings, because he is not seeking enhanced damages for his emotional
             distress in connection with an assertion that his pre-existing condition has been exacerbated by Defendants'
             conduct. According to Plaintiff, he will not introduce the medical records relating to his pre-existing condition
             at trial, nor will he testify regarding that condition.


               This Recommendation relates to cases already cited in the analyzed document
                      United States ex rel. Alexander Volkhoff, LLC v. Janssen Pharmaceutica N.V. 945 F.3d 1237
                      Jones v. Denver Post Corp. 203 F.3d 748




              5. Solis-Marrufo v. Board of Com'rs for County of Bernalillo
             United States District Court, D. New Mexico. • March 28, 2013 • Not Reported in F.Supp.2d • 2013
             WL 1658203



             Case details
             Motion type: Motion in limine                                   Trial level outcome: Motion granted

             Lastly, if Solis Marrufo asserts that he has suffered mental and emotional distress because of the Individual
             Defendants' actions, the Court will allow the Individual Defendants to contradict his asserted damages by
             inquiring into his previous and current cocaine use. Such evidence is admissible under rule 405 , because
             claims for mental and emotional damages put Solis Marrufo's mental and emotional state at issue. In Cerca
             v. Thomas, 30 F. App'x 931 (10th Cir.2002) (unpublished), the Tenth Circuit ruled that a district court properly
             allowed a defendant to introduce evidence that a home in which children witnessed their father's death was
             used to sell drugs, as the Tenth Circuit held that whether the children were exposed to drug usage or criminal
             activity was relevant to the issue of the amount of damage suffered by the children, when police officers killed
             their father during the execution of a search warrant. 30 F. App'x at 933 34 . The Court has previously held
             that drug abuse is relevant to a claim for damages where a plaintiff seeks damages for emotional distress,




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             finding that [e]vidence of drug use is an important tool of cross-examination for persons seeking emotion or
             pain and suffering damages. Lowery v. City of Albuquerque, 2012 WL 1378522, at * 19 .


               This Recommendation relates to cases already cited in the analyzed document
                      United States ex rel. Alexander Volkhoff, LLC v. Janssen Pharmaceutica N.V. 945 F.3d 1237
                      Jones v. Denver Post Corp. 203 F.3d 748



    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. § 6:27. Plaintiff's prima facie case
             May 09, 2024 • STLOCCIVIL § 6:27




              2. § 2759 Discretion of Court
             May 29, 2024 • FPP § 2759




       A. The Document Is Not Hearsay When Offered to Show Notice and State of Mind

    Cases (5)



              1. U.S. v. Ballou
             United States District Court, D. New Mexico. • October 16, 2014 • 59 F.Supp.3d 1038 • 2014 WL 6065639

             Case details
             Motion type: Motion in limine
             Movant at trial level: Plaintiff

             It is only unfair prejudice, substantially outweighing probative value, which permits exclusion of relevant
             evidence. Fed.Rules Evid.Rule 403, 28 U.S.C.A.

             Statements offered not to prove the truth of the statements, but rather offered for the effect on the listener,
             are generally not hearsay. Fed.Rules Evid.Rule 801(c), 28 U.S.C.A.




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              2. United States v. Woody
             United States District Court, D. New Mexico. • June 16, 2020 • 336 F.R.D. 293 • 2020 WL 3266056

             Case details
             Motion type: Plea challenge or motion
             Movant at trial level: Plaintiff

             Rule on the exclusion of relevant evidence due to prejudice directs evidence's exclusion not merely when
             the evidence's prejudice is greater than its probative value, but rather when the danger of that prejudice
             substantially outweighs the evidence's probative value, and the court must also give the evidence its
             maximum reasonable probative force and its minimum reasonable prejudicial value. Fed. R. Evid. 403.

             Statements by father and stepmother of eight-year-old alleged sexual-assault victim to physician in regard
             to alleged sexual abuse of victim by defendant, who had resided with alleged victim and mother of alleged
             victim, were not admissible under hearsay exception for statements made for medical diagnosis; while
             statements filled in gaps that might arise in jurors' minds as to why alleged victim was taken in for a medical
             examination, statements barely surpassed the test for relevancy, and the court was concerned that limiting
             instructions would not limit effectively the prejudice that statements would cause defendant, especially when
             the probative information that the prosecution sought from them was of limited value and could be acquired
             through less prejudicial means. Fed. R. Evid. 401, 403, 803(4).



              3. Leon v. FedEx Ground Package System, Inc.
             United States District Court, D. New Mexico. • February 01, 2016 • 313 F.R.D. 615 • 2016 WL 836999

             Case details
             Motion type: Motion in limine


                     Outcome: Accident register was admissible other-acts evidence


             Evidence of other accidents was admissible other-acts evidence in wrongful-death action by widow of
             passenger who was riding in lessee's tractor-trailer, and who died in rear-end collision, even though other-
             acts evidence had potential impermissible side effect of allowing jury to infer criminal propensity; court could
             instruct jury to prevent it from using evidence for improper purpose. Fed. R. Evid. 105, 404(b).



              4. U.S. v. Harry
             United States District Court, D. New Mexico. • February 19, 2013 • 927 F.Supp.2d 1185 • 2013 WL 684646

             Case details
                                                                             Trial level outcome: Motion denied




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                     Outcome: Any prejudicial effect of text messages was not so great as to outweigh their probative
                     value


             In performing the Rule 403 balancing, court should give the evidence its maximum reasonable probative
             force and its minimum reasonable prejudicial value. Fed.Rules Evid.Rule 403, 28 U.S.C.A.

             Any prejudicial effect, in prosecution for sexual abuse of an incapacitated person in Indian country, of text
             messages sent by defendant in response to messages sent by a witness, was not so great as to outweigh the
             probative value of the messages in demonstrating defendant's state of mind immediately after the alleged
             assault, even though the witness's messages had not been preserved. 18 U.S.C.A. SS 1153, 2242(2),
             2246(2)(A); Fed.Rules Evid.Rule 403, 28 U.S.C.A.



              5. United States v. Folse
             United States District Court, D. New Mexico. • October 29, 2015 • 163 F.Supp.3d 898 • 2015 WL 10383067

             Case details
             Movant at trial level: Plaintiff


                     Outcome: Government provided sufficient notice of letter, and its attempt to use it for legitimate
                     purpose, as required for it to be admissible


             Relevant evidence is inherently prejudicial; only unfair prejudice, substantially outweighing probative value,
             permits exclusion of relevant matter. Fed. R. Evid. 403.

             Government provided sufficient notice of threatening letter allegedly authored by defendant to "Markus,"
             who was roommate of alleged victim, and its attempt to use it for legitimate purpose, as required for it to be
             admissible in defendant's trial on charges of being a felon in possession of firearm, carjacking, and using,
             carrying, and brandishing firearm in relation to and in furtherance of a crime of violence, where government
             provided details on time and place of alleged bad acts, it provided that document, and it articulated that letter
             showed defendant's consciousness of guilt, which was relevant to issues such as motive, intent, plan, or
             knowledge. 18 U.S.C.A. SS 922(g)(1), 924(a)(2), 924(c), 2119; Fed. R. Evid. 404(b).


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. § 145 Joinder of Defendants
             May 29, 2024 • FPP § 145




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              2. § 14:79. Appeal
             June 03, 2024 • ORFIELDS § 14:79




       B. Introduction of Character Evidence by Plaintiff's Counsel

    Cases (2)



              1. Rivero v. Board of Regents of University of New Mexico
             United States District Court, D. New Mexico. • March 07, 2019 • Not Reported in Fed. Supp. • 2019
             WL 1085179



             Case details
             Motion type: Motion for summary judgment

             The rules of evidence contemplate the admission of relevant evidence, and the exclusion of irrelevant and
             potentially prejudicial evidence. Train v. City of Albuquerque, 629 F.Supp.2d 1243, 1247 (D.N.M. 2009)
             (Browning, J.)(citing Fed. R. Evid. 401 , 402 & 403 ). Evidence is relevant if: (a) it has any tendency to make
             a fact more or less probable than it would be without the evidence; and (b) the fact is of consequence in
             determining the action. Fed. R. Evid. 401 . See United States v. Gutierrez-Castro, No. CR 10-2072 JB, 2011
             WL 3503321, at *3 (D.N.M. Aug. 6, 2011) (Browning, J.)( Relevant evidence is evidence that has a tendency
             to make the existence of any fact that is of consequence to the determination of the action more probable
             or less probable than it would be without the evidence.



              2. U.S. v. Gilliland
             United States Court of Appeals, Tenth Circuit. • November 22, 1978 • 586 F.2d 1384 • 3 Fed. R. Evid.
             Serv. 1614

             Case details
                                                                             Appellate level outcome: Reversed trial court's
                                                                             decision




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                     Outcome: The Court of Appeals, Logan, Circuit Judge, held that: (1) Government could not turn
                     defendant's eyewitness into a character witness by asking what kind of a man defendant was and then
                     using such questions to bootstrap into the case evidence of defendant's prior convictions; (2) prior
                     Dyer Act convictions could not be used to show intent, plan, scheme or design; (3) prior convictions,
                     which were obtained 14 to 34 years before instant offense, could not be used to impeach defendant
                     where no notice of intent was furnished, and (4) inquiries of stepson as to why defendant would
                     not tell government agent that he had been in a bar, that stepson was with him, and “the truth”
                     and prosecution's comments thereon constituted improper comments on right to remain silent and,
                     when combined with improper use of prior convictions, constituted plain error requiring reversal,
                     notwithstanding other evidence of guilt.


             Trial judge has a duty of continuing surveillance as to whether prejudicial effect of evidence offered to rebut
             character evidence outweighs its probative value. Fed.Rules Evid. rules 404(a)(1), 405(a), 28 U.S.C.A.

             Government could not turn defendant's eyewitness into a character witness by asking what kind of a man
             defendant was and then use those questions to bootstrap into the case evidence of defendant's prior
             convictions, which evidence it was prohibited from using in its case-in-chief. Fed.Rules Evid. rules 404(a)
             (1), 405(a), 28 U.S.C.A.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. § 103:4 Rule 103:4: error in admitting: waiver of right to object by other than
              failure to make; invited error, door opening
             November 08, 2024 • FEDEVID § 103:4




              2. § 223 Prejudicial Joinder of Offenses
             May 29, 2024 • FPP § 223




       A. Social Media Evidence Admissibility.

    Cases (5)



              1. Banks v. Jackson
             United States District Court, D. Colorado. • September 13, 2021 • Not Reported in Fed. Supp. • 2021
             WL 4149618




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             Case details
             Motion type: Motion to strike
             Movant at trial level: Plaintiff

             Here, Plaintiffs operative pleading alleges that, starting around June 2018, and continuing, again, on three
             subsequent occasions November 18, 2018, July 10, 2020, and July 14, 2020 Mr. Jackson post[ed] on social
             media defamatory, false and slanderous statements about the named Plaintiffs. (Am. Compl. 2, 6-9, 25-27,
             30-36.) Plaintiffs allege that they first discovered certain of the social media postings at issue in August
             2019. ( Id. at 3 .) Accepting these allegations as true, and construing them in Plaintiffs favor, the statute of
             limitations began running on Plaintiffs claims, no earlier than August 2019.


               This Recommendation relates to cases already cited in the analyzed document
                      U.S. v. Hassan 742 F.3d 104
                      Roberts v. McAfee, Inc. 660 F.3d 1156




              2. Moody v. NetChoice, LLC
             Supreme Court of the United States. • July 01, 2024 • 603 U.S. 707 • 144 S.Ct. 2383
                High court          Last 2 years

             Case details
             Motion type: Motion for preliminary injunction                  Trial level outcome: Motion granted
             Movant at trial level: Plaintiff                                Highest level outcome: Reversed appellate court's
                                                                             decision


                     Outcome: In determining likelihood of success on claims that Florida and Texas statutes were facially
                     invalid under First Amendment, as factor in deciding whether to preliminarily enjoin enforcement of
                     statutes, lower courts failed to address full range of activities covered by statutes


             In determining likelihood of success on claims that Florida and Texas statutes curtailing internet platforms'
             capacity to engage in content moderation were facially invalid under First Amendment's free-speech
             protections, as factor in deciding whether to preliminarily enjoin enforcement of statutes, lower courts
             were required to address full range of activities covered by statutes; lower courts and parties treated
             statutes as having certain heartland applications, mostly confined to how statutes applied to major social
             media platforms' content-moderation practices on their best-known services, and failed to consider other
             applications, such as how statutes applied to email provider filtering incoming messages or how online
             marketplace displayed customer reviews. U.S. Const. Amend. 1; Fla. Stat. Ann. SS 501.2041(1)(b),
             501.2041(2)(b), 501.2041(2)(d)(1), 501.2041(2)(h), 501.2041(2)(j), 501.2041(3); Tex. Bus. & C. Code S
             120.103(a)(1), 120.103(a)(2), 120.104; Tex. Civ. Prac. & Rem. Code Ann. SS 143A.001(1), 143A.002(a),
             143A.006.




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               This Recommendation relates to cases already cited in the analyzed document
                      U.S. v. Hassan 742 F.3d 104
                      Roberts v. McAfee, Inc. 660 F.3d 1156




              3. Banks v. Jackson
             United States District Court, D. Colorado. • May 09, 2022 • Not Reported in Fed. Supp. • 2022 WL 1451904

             Case details
             Motion type: Motion for summary judgment

             In this case, to the extent that Plaintiffs argue that Mr. Jackson's statements were false, any evidence
             supporting that assertion has no direct bearing on whether Mr. Jackson harbored a good faith belief that his
             statements were true at the time that he published them. See Miles v. Nat'l Enquirer, Inc., 38 F. Supp. 2d
             1226, 1230 (D. Colo. 1999) (granting a defendant's motion for summary judgment on a defamation claim
             arising from a journalist's publication of statements suggesting that the plaintiff was a pedophile, where the
             entire record convincingly showed that the reporters believed their statements to be true ). Indeed, the record
             is replete with evidence suggesting that Mr. Jackson has never waivered in his belief that the Church is a
             cult, that Rose Banks mishandled the Church's finances, or that Lamont Banks is almost a sex offender.
             ( See, e.g. , Doc. No. 112-9 at 4 ( I have not lied about anything. ), ( That definitely is my position because
             it is the truth. ), ( I know it is true. ); Doc. No. 112-10 at 5 ( Because the actions from Pastor Rose Banks
             include witchcraft.


               This Recommendation relates to cases already cited in the analyzed document
                      U.S. v. Hassan 742 F.3d 104
                      Roberts v. McAfee, Inc. 660 F.3d 1156




              4. Goode v. Gaia, Inc.
             United States District Court, D. Colorado. • November 01, 2023 • Slip Copy • 2023 WL 7190732
                Last 2 years

             Case details
             Motion type: Motion to dismiss                                  Trial level outcome: Motion granted
             Movant at trial level: Defendant

             Plaintiffs also allege that Defendants High, Zavodnick, Montalbano, Weidner and Gaia consistently tag
             Mr. Goode and use the Goode Marks in their Social Media posts to ride off of the notoriety and reach
             of Mr. Goode's followers. All four [sic] make repeated misuse of the Goode Marks while defaming and
             harassing Goode further harming Goode by spreading untruths and baseless statements while bolstering
             their viewership through the use of tagging on various social media platforms. Second Am. Compl. [#111]
             58. They also point to Montalbano's Answer in which she admits to encouraging people to like, subscribe,
             and share YouTube channels and videos of interest.




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               This Recommendation relates to cases already cited in the analyzed document
                      U.S. v. Hassan 742 F.3d 104
                      Roberts v. McAfee, Inc. 660 F.3d 1156




              5. Spacecon Specialty Contractors, LLC v. Bensinger
             United States Court of Appeals, Tenth Circuit. • April 15, 2013 • 713 F.3d 1028 • 2013 WL 1558469



             Case details
             Motion type: Motion for summary judgment                        Trial level outcome: Motion granted
             Movant at trial level: Defendant                                Appellate level outcome: Upheld trial court's
                                                                             decision


                     Outcome: Filmmaker's allegedly false statements were a matter of public concern, giving rise to
                     actual malice standard


             Under Colorado law, in determining whether statements involve a matter of public concern, a court in a
             defamation action must analyze the content, form, and context of the statements, in conjunction with the
             motivation or point of the statements as revealed by the whole record; the balance should be struck in favor
             of a private plaintiff if his or her reputation has been injured by a non-media defendant in a purely private
             context.

             Filmmaker's allegedly false statements regarding construction contractor's use of foreign workers was a
             matter of public concern, and, thus, actual malice standard was applicable to contractor's defamation claim
             against filmmaker under Colorado law, where messages conveyed by the film, alleging racial and ethnic
             discrimination and abuse by contractor of hundreds of individuals, had the potential to impact many members
             of the public or the public as a whole, and screening of the film was organized and sponsored in part
             by members of city council and included a speech by a councilman discussing significant social issues
             addressed by the film.


               This Recommendation relates to cases already cited in the analyzed document
                      U.S. v. Hassan 742 F.3d 104
                      Roberts v. McAfee, Inc. 660 F.3d 1156



    Briefs & Memoranda (2)

              1. Brief of Defendants-Appellees Nbcuniversal Media LLC, Cbs Interactive
              Inc., Mint Software Inc., Evolve Media Corporation, and Investinganswers, Inc.
             United States Court of Appeals, Seventh Circuit. • February 28, 2013 • 2013 WL 874938




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              2. Defendant's Reply Suggestions in Support of its Motion for Summary
              Judgment
             United States District Court, W.D. Missouri, Southern Division. • April 05, 2021 • 2021 WL 4813683


    Secondary Sources (2)

              1. Affirmative Defenses In Libel Actions
             November 05, 2024 • 22 AMJUR POF 3d 305




              2. Libel Actions by Public Officials
             February 04, 2025 • 17 AMJUR TRIALS 223




       B. Religious Beliefs Evidence Under Rule 610.

    Cases (0)
             No case recommendations provided for this heading, but please review briefs and secondary sources for
             additional recommendations.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. § 4:47. Judicial review of awards for excessiveness
             November 13, 2024 • STEIN TREATISE § 4:47




              2. § 56:55. The ratio guidepost in the lower courts
             November 04, 2024 • BUSCOMLIT § 56:55




       C. Non-Hearsay Treatment of Background Documents

    Cases (5)




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              1. Brokers' Choice of America, Inc. v. NBC Universal, Inc.
             United States Court of Appeals, Tenth Circuit. • June 28, 2017 • 861 F.3d 1081 • 2017 WL 2785352
                Frequently cited

             Case details
             Motion type: Motion to dismiss                                  Trial level outcome: Motion granted
             Movant at trial level: Defendant                                Appellate level outcome: Upheld trial court's
                                                                             decision


                     Outcome: Court of Appeals' prior decision did not preclude network from challenging legal sufficiency
                     of organization's claim under law of the case doctrine


             For purpose of a defamation action, to be material, an alleged falsehood must be likely to cause reasonable
             people to think significantly less favorably about the plaintiff than they would if they knew the truth.

             Court of Appeals' prior decision holding that insurance industry marketing organization's complaint against
             television network stated a plausible claim for defamation did not preclude network from challenging legal
             sufficiency of organization's claim on remand to district court under law of the case doctrine, in action
             arising out of network's investigative news show episode that used excerpts and information from seminar
             that organization presented to teach insurance agents how to sell annuities to seniors, where addition of
             once-privileged seminar recording as exhibit on remand qualified as new evidence, and addition of seminar
             recording caused the issue before the district court to change from comparing each statement made in
             episode to the factual assertions in organization's complaint, to considering whether there was any dispute
             between the allegations in the complaint and the content of the seminar recording.


               This Recommendation relates to cases already cited in the analyzed document
                      New York Times Co. v. Sullivan 376 U.S. 254
                      U.S. v. Cesareo-Ayala 576 F.3d 1120
                      U.S. v. Caraway 534 F.3d 1290
                      U.S. v. Jones 530 F.3d 1292




              2. United States v. Woody
             United States District Court, D. New Mexico. • June 16, 2020 • 336 F.R.D. 293 • 2020 WL 3266056

             Case details
             Motion type: Plea challenge or motion
             Movant at trial level: Plaintiff

             Rule on the exclusion of relevant evidence due to prejudice directs evidence's exclusion not merely when
             the evidence's prejudice is greater than its probative value, but rather when the danger of that prejudice
             substantially outweighs the evidence's probative value, and the court must also give the evidence its
             maximum reasonable probative force and its minimum reasonable prejudicial value. Fed. R. Evid. 403.




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             Probative value of testimony regarding defendant's alleged past sexual abuse of child victims outweighed
             danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
             presenting cumulative evidence at trial on charges of aggravated sexual abuse and abusive sexual contact;
             prosecution likely could prove the uncharged conduct by a preponderance of the evidence, evidence that
             defendant repeatedly abused alleged victims in a similar manner on other occasions made the charged acts
             more likely to have occurred, and other available evidence was not any less prejudicial than the proposed
             acts evidence. Fed. R. Evid. 403.


               This Recommendation relates to cases already cited in the analyzed document
                      New York Times Co. v. Sullivan 376 U.S. 254
                      U.S. v. Cesareo-Ayala 576 F.3d 1120
                      U.S. v. Caraway 534 F.3d 1290
                      U.S. v. Jones 530 F.3d 1292




              3. Peshlakai v. Ruiz
             United States District Court, D. New Mexico. • August 08, 2014 • 39 F.Supp.3d 1264 • 2014 WL 4104674

             Case details
             Motion type: Motion in limine
             Movant at trial level: Multiple movants

             Under rule requiring exclusion of evidence if its probative value is outweighed by its prejudicial effect, trial
             court must weigh proffered evidence's probative value against its potential for unfair prejudice. Fed.Rules
             Evid.Rule 403, 28 U.S.C.A.

             Rule providing for exclusion of evidence if its probative value is substantially outweighed by a danger of unfair
             prejudice, confusing issues, misleading jury, undue delay, wasting time, or needlessly presenting cumulative
             evidence did not require exclusion of evidence of restaurant's prior conduct in responding to guest reports
             of overservice of alcohol to patrons in action alleging dram-shop liability and negligence; court could control
             any risks by use of limiting instructions. Fed.Rules Evid.Rule 403, 28 U.S.C.A.


               This Recommendation relates to cases already cited in the analyzed document
                      New York Times Co. v. Sullivan 376 U.S. 254
                      U.S. v. Cesareo-Ayala 576 F.3d 1120
                      U.S. v. Caraway 534 F.3d 1290
                      U.S. v. Jones 530 F.3d 1292




              4. U.S. v. Ballou
             United States District Court, D. New Mexico. • October 16, 2014 • 59 F.Supp.3d 1038 • 2014 WL 6065639

             Case details




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             Motion type: Motion in limine
             Movant at trial level: Plaintiff

             Evidence is not unfairly prejudicial merely because it damages a party's case; rather, to be unfairly prejudicial,
             the evidence must have an undue tendency to suggest decision on an improper basis, commonly, though
             not necessarily, an emotional one. Fed.Rules Evid.Rule 403, 28 U.S.C.A.

             Probative value of testimony about patient's prior altercations with Veterans Affairs (VA) hospital staff, to
             show nurse's state of mind at time of assault of patient and to show patient's animus towards the VA hospital
             staff, outweighed danger of unfair prejudice; patient was not a party to the case, so prejudice "against him"
             was not a major issue, and danger that jury would make of character-propensity inferences was minimal.
             Fed.Rules Evid.Rules 403, 404(b), 28 U.S.C.A.


               This Recommendation relates to cases already cited in the analyzed document
                      New York Times Co. v. Sullivan 376 U.S. 254
                      U.S. v. Cesareo-Ayala 576 F.3d 1120
                      U.S. v. Caraway 534 F.3d 1290
                      U.S. v. Jones 530 F.3d 1292




              5. U.S. v. Rodella
             United States District Court, D. New Mexico. • April 21, 2015 • 101 F.Supp.3d 1075 • 2015 WL 1906117

             Case details
                                                                             Trial level outcome: Motion denied

             In balancing the probative value of evidence and the danger of unfair prejudice, the court should give the
             evidence its maximum reasonable probative force and its minimum reasonable prejudicial value. Fed.Rules
             Evid.Rule 403, 28 U.S.C.A.

             Prejudicial effect of prior-acts evidence did not substantially outweigh its probative value, so as to warrant
             exclusion of such evidence during trial of defendant, a former sheriff, for willfully subjecting a person to
             deprivation of Constitutional rights; prior incidents were highly probative to defendant's willfulness, which
             was essential issue in case, as each of the prior acts, and charged incident, involved defendant driving in
             aggressive manner, or in manner that would provoke other drivers, and then asserting his authority when
             another driver showed some sign of disrespect. 18 U.S.C.A. S 242; Fed.Rules Evid.Rule 403, 28 U.S.C.A.


               This Recommendation relates to cases already cited in the analyzed document
                      New York Times Co. v. Sullivan 376 U.S. 254
                      U.S. v. Cesareo-Ayala 576 F.3d 1120
                      U.S. v. Caraway 534 F.3d 1290
                      U.S. v. Jones 530 F.3d 1292



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              1. Memorandum of Law in Support of Motion to Dismiss of Defendants First
              Look Media Works, Inc. and Matthew Cole
             United States District Court, S.D. New York. • February 11, 2022 • 2022 WL 3045249


              2. Appellee's Answer Brief
             United States Court of Appeals, Tenth Circuit. • September 01, 2017 • 2017 WL 3842975


    Secondary Sources (2)

              1. Proof of Facts Establishing Affirmative Defenses Against a Claim for
              Defamation
             November 05, 2024 • 99 AMJUR POF 3d 393




              2. Proof of Facts Establishing a Party's Entitlement to Punitive Damages in a
              Defamation Cause of Action
             November 05, 2024 • 104 AMJUR POF 3d 221




       A. Authentication and Chain of Evidence

    Cases (4)



              1. Skinner v. Garry
             United States District Court, D. Maryland. • August 18, 2020 • Not Reported in Fed. Supp. • 2020 WL
             4784768

             Case details
             Motion type: Motion to compel                                   Trial level outcome: Motion denied

             In the Fourth Circuit, when a challenge to venue is raised under Rule 12(b)(3) , the plaintiff bears the burden
             of demonstrating that venue is appropriate. Bartholomew v. Va. Chiropractors Ass'n, 612 F.2d 812, 816 (4th
             Cir. 1979) , cert. denied , 446 U.S. 938, 100 S.Ct. 2158, 64 L.Ed.2d 791 (1980) , overruled on other grounds
             by Union Labor Life Ins. Co. v. Pireno, 458 U.S. 119, 102 S.Ct. 3002, 73 L.Ed.2d 647 (1982) ; accord Tinoco
             v. Thesis Painting, Inc., GJH-16-752, 2017 WL 52554, at *2 (D. Md. Jan. 3, 2017) ; Jones v. Koons Auto.
             Inc., 752 F. Supp. 2d 670, 679 (D. Md. 2010) . If the court does not hold an evidentiary hearing, the plaintiff
             need only make a prima facie showing that venue is proper. CareFirst, Inc. v. Taylor, 235 F. Supp. 3d 724,
             732 (D. Md. 2017) (citing Mitrano v. Hawes, 377 F.3d 402, 405 (4th Cir. 2004) ). In assessing whether there
             has been a prima facie venue showing, [the court views] the facts in the light most favorable to the plaintiff.




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              2. United States v. Perry
             United States Court of Appeals, Fourth Circuit. • February 06, 2024 • 92 F.4th 500 • 2024 WL 438914
                Last 2 years

             Case details
             Motion type: Sentencing or penalty phase motion orTrial level outcome: Motion denied
             objection
                                                                             Appellate level outcome: Upheld trial court's
                                                                             decision


                     Outcome: Evidence was sufficient to support conviction for possession of controlled substance


             A within-Guidelines range sentence is presumptively reasonable. U.S.S.G. S 1B1.1 et seq.

             Evidence was sufficient to support conviction for possession of controlled substance; along with drugs
             themselves, government presented to jury defendant's own statements admitting that police officer found
             "weed" on him. Comprehensive Drug Abuse Prevention and Control Act of 1970 S 404, 21 U.S.C.A. S 844(a).



              3. U.S. v. Vidacak
             United States Court of Appeals, Fourth Circuit. • January 23, 2009 • 553 F.3d 344 • 2009 WL 153821
                Frequently cited

             Case details
                                                                             Appellate level outcome: Upheld trial court's
                                                                             decision


                     Outcome: Interpreter's translation of defendant's responses during interview for refugee application
                     did not create an additional level of hearsay


             The burden to authenticate evidence is not high, as only a prima facie showing is required. Fed.Rules
             Evid.Rule 901, 28 U.S.C.A.

             Serbian interpreter used in immigrant defendant's interview with immigration officer was a language conduit,
             rather than a declarant, and therefore interpreter's translation of defendant's responses did not create
             an additional level of hearsay, for purposes of determining whether immigration officer's testimony about
             the interview was admissible; interpreter was an employee of refugee aid organization, which was an
             independent United Nations-funded agency that assisted refugees, there was no indication that interpreter
             was selected by the United States government, and there was no evidence suggesting that interpreter
             harbored any bias against defendant, or that she had any motive to mislead or distort.




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              4. Davis v. Bishop
             United States District Court, D. Maryland. • June 27, 2022 • Not Reported in Fed. Supp. • 2022 WL
             2315724

             Case details
                                                                             Trial level outcome: Motion granted

             To prevail on a claim under Brady v. Maryland, a petitioner must establish: (1) the evidence at issue is
             favorable, either because it is exculpatory, or because it is impeaching; (2) that evidence was suppressed
             by the State, either willfully or inadvertently; and (3) prejudice ensued. See Juniper v. Zook, 876 F.3d 551,
             564 (4th Cir. 2017) , citing Banks v. Dretke, 540 U.S. 668, 691, (2004) . Suppressed, exculpatory evidence
             is material if it could reasonably be taken to put the whole case in such a different light as to undermine
             confidence in the verdict. Kyles v. Whitley, 514 U.S. 419, 435 (1995) . To establish materiality, a petitioner
             must show that there is a reasonable probability that the result of the trial would have been different if the
             suppressed documents had been disclosed to the defense.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. Proof of Instant Message, Blog, or Chat as Evidence
             November 05, 2024 • 100 AMJUR POF 3d 89




              2. Facebook, MySpace, LinkedIn, Twitter, and Other Social Media in Trials
             February 04, 2025 • 122 AMJUR TRIALS 421




       B. Limiting Instructions and Jury Management

    Cases (2)



              1. United States v. Herrera
             United States Court of Appeals, Tenth Circuit. • October 27, 2022 • 51 F.4th 1226 • 2022 WL 15219199

             Case details
             Motion type: Post-trial hearing motion                          Appellate level outcome: Upheld trial court's
                                                                             decision




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             To obtain reversal of an order denying severance of defendants, a party must show actual prejudice
             outweighing the expense and inconvenience of separate trials and inadequacy of less drastic means to cure
             potential prejudice (like limiting instructions). Fed. R. Crim. P. 14.

             Even if actual prejudice to defendants from use of out-of-court recorded statements of other co-defendants
             had existed, district court enjoyed discretion to alleviate the prejudice through limiting instructions, and thus,
             severance of defendants' trials from that of their co-defendants was not warranted, in prosecution of all
             defendants for violating Violent Crimes in Aid of Racketeering Act (VICAR) by participating in murder of
             fellow inmate on behalf of prison gang; although district court did issue many limiting instructions about the
             recordings, including each time a recording was admitted, given the discrete timing of the recordings and
             the repeated issuance of the same limiting instructions, the court could reasonably credit the jury's ability to
             follow the limiting instructions. 18 U.S.C.A. S 1959; Fed. R. Crim. P. 14.



              2. United States v. Garcia
             United States Court of Appeals, Tenth Circuit. • July 05, 2023 • 74 F.4th 1073 • 2023 WL 4341599
                Last 2 years

             Case details
             Motion type: Pre-trial hearing motion


                     Outcome: Defendants were not entitled to severance of trials


             Court of Appeals reviews de novo denial of judgment of acquittal for insufficient evidence. Fed. R. Crim. P. 29.

             Graphic photographs of burned body admitted in prosecution of gang members for killing outside prison
             were insufficient to entitle other gang members to severance of their prosecutions for murders inside prison
             under Violent Crimes in Aid of Racketeering (VICAR) Act; government needed to prove that gang was an
             "enterprise" engaged in a series of illicit conduct that affected interstate commerce, proof of some of gang's
             conduct outside of prison was particularly relevant, instructions limited use of the evidence, and jury delivered
             mixed verdict indicating it dutifully evaluated the evidence as to each defendant and as to each count. 18
             U.S.C.A. S 1959; Fed. R. Crim. P. 14.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. Proof of Unpaid Overtime Under Fair Labor Standards Act
             November 05, 2024 • 107 AMJUR POF 3d 1




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              2. § 145 Joinder of Defendants
             May 29, 2024 • FPP § 145




       C. Temporal Considerations

    Cases (5)



              1. Chastain v. Hodgdon
             United States District Court, D. Kansas. • August 15, 2016 • 202 F.Supp.3d 1216 • 2016 WL 4273286

             Case details
             Motion type: Motion to dismiss                                  Trial level outcome: Motion denied
             Movant at trial level: Defendant

             To establish actual malice under Kansas law concerning conditionally privileged information about public
             officials regarding matters of public concern, a plaintiff must allege facts showing by clear and convincing
             evidence that the publication was made with actual knowledge that it was false or with reckless disregard
             of whether it was false or not.

             To assert a claim for defamation under Kansas law, a plaintiff must plead facts that establish: (1) false and
             defamatory words, (2) communicated to a third person, (3) which injured plaintiff's reputation.



              2. Spacecon Specialty Contractors, LLC v. Bensinger
             United States Court of Appeals, Tenth Circuit. • April 15, 2013 • 713 F.3d 1028 • 2013 WL 1558469



             Case details
             Motion type: Motion for summary judgment                        Trial level outcome: Motion granted
             Movant at trial level: Defendant                                Appellate level outcome: Upheld trial court's
                                                                             decision


                     Outcome: Filmmaker's purported bias against contractor did not establish actual malice


             Under Colorado law, whether a matter involved in a defamation action is of public concern must be
             determined on a case-by-case basis.

             Under Colorado law, filmmaker's alleged bias against construction contractor was not clear and convincing
             evidence that filmmaker knew messages conveyed by documentary film about contractor's alleged use
             and abuse of foreign workers were false or entertained serious doubts as to whether they were true, as
             would establish actual malice, although filmmaker was a consultant for union, which paid for the film, and
             he delegated many of the critical film-making tasks to union members, knowing that union was embroiled




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             in a campaign against contractor based on its alleged failure to pay employees area standards wages and
             benefits.



              3. Anaya v. CBS Broadcasting Inc.
             United States District Court, D. New Mexico. • May 29, 2009 • 626 F.Supp.2d 1158 • 2009 WL 1562537



             Case details
             Motion type: Motion for summary judgment                        Trial level outcome: Motion granted
             Movant at trial level: Defendant


                     Outcome: By courting media attention, agent became a public figure


             In defamation actions, public figures and public officials are required to show actual malice. U.S.C.A.
             Const.Amend. 1.

             By courting media attention to publicize exonerating evidence, purchasing agent employed by government-
             run defense lab thrust herself into forefront of public controversy, making her "public figure" and requiring
             her to prove actual malice in action against national broadcast network alleging defamation with respect to
             network's reporting on investigation into suspected improper purchases made by lab employees, including
             agent, using government credit cards; agent sought to influence outcome of investigation by seeking to
             publicize internal report conducted by lab exonerating her. U.S.C.A. Const.Amend. 1.



              4. Immanuel v. Cable News Network, Inc.
             United States District Court, S.D. Texas, Houston Division. • August 01, 2022 • 618 F.Supp.3d 557 •
             2022 WL 3030290

             Case details
             Motion type: Motion to dismiss                                  Trial level outcome: Motion granted
             Movant at trial level: Defendant

             For a limited-purpose public figure to plead defamation under Texas law, they must allege clear and specific
             evidence of actual malice.

             Physician became a limited-purpose public figure, for purposes of her Texas-law defamation claim against
             news organization, by publicly promoting the treatment of COVID-19 with hydroxychloroquine through
             actions that were bound to invite attention and comment, including by speaking publicly at a political gathering
             of like-minded doctors on the steps of the United States Supreme Court and by her online discussions about
             vaccinations and medicine in general.




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              5. American Muckrakers PAC, Inc. v. Boebert
             United States District Court, D. Colorado. • June 09, 2024 • Slip Copy • 2024 WL 3738932
                Last 2 years

             Case details
             Motion type: Motion to amend

             As of 2017, five reported cases from the Circuit Courts of Appeals [had] addressed the sufficiency of
             allegations of malice in public-figure libel actions after [ Iqbal-Twombly ] and [i]n each case, the appellate
             court affirmed Rule 12 dismissals in favor of the defendant because the plaintiff's allegation of malice did not
             meet the plausibility requirement. Id. at 717 n.73 (citing Michel v. NYP Holdings, Inc., 816 F.3d 686 (11th
             Cir. 2016) ; Biro v. Cond Nast, 807 F.3d 541 (2d Cir. 2015) ; Pippen v. NBCUniversal Media, LLC, 734 F.3d
             610 (7th Cir. 2013) ; Mayfield v. Nat'l Ass'n for Stock Car Auto Racing, Inc., 674 F.3d 369 (4th Cir. 2012) ;
             Schatz v. Republican State Leadership Comm., 669 F.3d 50 (1st Cir. 2012) ).


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (2)

              1. Proof of Facts Establishing Affirmative Defenses Against a Claim for
              Defamation
             November 05, 2024 • 99 AMJUR POF 3d 393




              2. Proof of Facts Establishing a Party's Entitlement to Punitive Damages in a
              Defamation Cause of Action
             November 05, 2024 • 104 AMJUR POF 3d 221




       E. Curative Admissibility

    Cases (1)



              1. United States v. Ojimba
             United States District Court, W.D. Oklahoma. • April 23, 2019 • Not Reported in Fed. Supp. • 2019
             WL 1781419

             Case details
             Motion type: Motion to admit evidence                           Trial level outcome: Motion denied




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             The doctrine of curative admissibility allows for the admission of evidence which is otherwise inadmissible.
             However, the use of this doctrine is limited to the prevention of prejudice and used only to the extent
             necessary to remove any unfair prejudice which might otherwise have ensued from the original evidence.
             United States v. Rucker, 188 Fed. Appx. 772, 778 (10th Cir. 2006) (citing United States v. Morales-Quinones,
             812 F.2d 604, 609-10 (10th Cir. 1987) ). Curative admissibility applies only when other evidence has been
             improperly admitted. Brown, 730 Fed. Appx. 638, 652 n.3 (10th Cir. 2018) ; Rucker, 188 Fed. Appx. at
             778-779 (citing Untied States v. Regents of N.M. Sch. of Mines, 185 F.2d 389, 391 (10th Cir. 950) ).


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.


    Secondary Sources (0)
             No secondary source recommendations provided for this heading, but please review cases and briefs for
             additional recommendations.



       F. Constitutional Considerations

    Cases (1)



              1. Shanley v. Hutchings
             United States District Court, D. Utah. • February 08, 2024 • 716 F.Supp.3d 1179 • 2024 WL 496250
                Last 2 years

             Case details
             Motion type: Motion for summary judgment
             Movant at trial level: Defendant

             The second element of a claim for tortious interference under Utah law-improper means-requires that
             the plaintiff prove that the defendant's means of interference were contrary to statutory, regulatory, or
             common law or violated an established standard of a trade or profession; such improper means include
             violence, threats or other intimidation, deceit or misrepresentation, bribery, unfounded litigation, defamation,
             or disparaging falsehood.

             Absent a claim for defamation per se, a plaintiff alleging defamation under Utah law must prove special
             damages-damages that occur as a natural consequence of the harm done but which are not so certain to
             flow therefrom as to be implied in law.


    Briefs & Memoranda (0)
             No briefs and memoranda recommendations provided for this heading, but please review cases and
             secondary sources for additional recommendations.




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    Secondary Sources (2)

              1. § 6:38. Potential responses—First Amendment—Opinions
             November 08, 2024 • MABSL § 6:38




              2. Libel Actions by Public Officials
             February 04, 2025 • 17 AMJUR TRIALS 223




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       & Guidance (1)

    Cases (31)



              1. Gulino v. Board of Educ. of City School Dist. of City of New York
             United States District Court, S.D. New York. • November 25, 2002 • 236 F.Supp.2d 314 • 2002 WL
             31654974
                10+ years
             Depth of discussion                  Cited


                 Affirmed in Part, Vacated in Part, Reversed in Part by Gulino v. New York State Educ. Dept. 2nd Cir.
                 (N.Y.) August 17, 2006
                 ...2006.Background: Employees of school district sued city board of education and state education
                 department under Title VII and state laws, alleging that rights of African-American and Latino teachers
                 were violated through imposition of requirement that they pass test to receive or retain teaching license.
                 Following partial summary judgment, 236 F.Supp.2d 314 , the United States District Court for the
                 Southern District of New York Constance Baker Motley, J., granted judgment in favor of defendants.
                 Employees appealed.Holdings: The Court of Appeals Richard C. Wesley, Circuit Judge, held that:4(1)
                 board did not delegate core employer responsibility to department...


             Negative treatment:        Most recent       Distinguished (2)       All (6)




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              2. Villarreal v. R.J. Reynolds Tobacco Co.
             United States Court of Appeals, Eleventh Circuit. • November 30, 2015 • 806 F.3d 1288 • 2015 WL
             7694939

             Depth of discussion                  Cited


                 On Rehearing en Banc Villarreal v. R.J. Reynolds Tobacco Company 11th Cir.(Ga.) October 5, 2016
                 ...recover for discrimination in violation of Age Discrimination in Employment Act (ADEA). The United
                 States District Court for the Northern District of Georgia Richard W. Story, J., 2013 WL 823055,
                 dismissed the action, and denied motion to amend, 2013 WL 6191177 Applicant appealed. The Court
                 of Appeals, Martin, Circuit Judge, 806 F.3d 1288 , reversed.Holdings: On rehearing en banc, the Court
                 of Appeals, William Pryor, Circuit Judge, held that:(1) applicant could not bring disparate impact claim,
                 and(2)applicant was not entitled to equitable tolling of disparate treatment claim.Affirmed in part and
                 remanded.Jordan, Circuit Judge, filed opinion...


             Negative treatment:        Most recent       Distinguished (0)     All (4)




              3. Peterson v. Nelnet Diversified Solutions, LLC
             United States District Court, D. Colorado. • September 03, 2019 • 400 F.Supp.3d 1122 • 2019 WL 4166998

             Depth of discussion                  Cited


                 Reversed and Remanded by Peterson v. Nelnet Diversified Solutions, LLC 10th Cir.(Colo.) October 8,
                 2021
                 ...on behalf of himself and all current and former account managers and call center representatives,
                 asserting claim under the Fair Labor Standards Act (FLSA) for unpaid overtime wages. The United
                 States District Court for the District of Colorado Nina Y. Wang, United States Magistrate Judge, granted
                 summary judgment to employer, 400 F.Supp.3d 1122 , and awarded costs to employer, 2020 WL
                 3978756 Representatives appealed.Holdings: The Court of Appeals, Moritz, Circuit Judge, held that:(1)
                 preshift activities came within definition of ''compensable work,'' and(2) employer failed to show that time
                 spent by representatives on preshift activities was de minimis.Reversed...


             Negative treatment:        Most recent       Distinguished (0)     All (2)




              4. Jones v. Denver Post Corp.
             United States Court of Appeals, Tenth Circuit. • February 10, 2000 • 203 F.3d 748 • 2000 WL 145386
                10+ years
             Depth of discussion                  Cited


                 Abrogation Recognized by Brody v. Bruner as trustee of Bruner Family Trust 10th Cir.(Colo.) May 1, 2024
                 ...App. 2002) (analyzing civil conspiracy to breach a contract as a tort claim).2. Analysis Under §
                 13-17-201(1), a court must award a prevailing defendant attorney fees and costs when all the tort claims



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                 against that party were dismissed on a Rule 12(b)(6) motion. See Jones, 203 F.3d at 757 Because
                 the only claim against the BFT Defendants was dismissed on a Rule 12(b)(6) motion, and because the
                 Colorado Supreme Court has said a civil conspiracy is a ''tort claim[ ],'' Glover, 498 P.3d at 1110, the
                 district court did not abuse its...


             Negative treatment:        Most recent       Distinguished (2)       All (16)




              5. U.S. v. Hassan
             United States Court of Appeals, Fourth Circuit. • February 04, 2014 • 742 F.3d 104 • 2014 WL 406768
                10+ years
             Depth of discussion                  Cited


                 Post-Conviction Relief Granted by Sherifi v. United States E.D.N.C. August 25, 2020
                 ...§ 924(c) counts). The court granted petitioner's motion for downward variance from the Guidelines
                 range of life imprisonment as to the conspiracy counts in part due to the mandatory consecutive sentence
                 of 360 months' imprisonment on counts four and eight. Petitioner's convictions and sentence were
                 affirmed on direct appeal. United States v. Hassan, 742 F.3d 104 (4th Cir. 2014) Notably, on May 10,
                 2013, petitioner was sentenced to life imprisonment in a separate federal criminal prosecution following
                 convictions for conspiracy to commit murder for hire and related offenses. United States v. Sherifi, No.
                 7:12-CR-20-BR (E.D.N.C...


             Negative treatment:        Most recent       Distinguished (4)       All (9)




              6. U.S. v. Caraway
             United States Court of Appeals, Tenth Circuit. • July 28, 2008 • 534 F.3d 1290 • 2008 WL 2877475
                10+ years
             Depth of discussion                  Cited


                 Post-Conviction Relief Granted by United States v. Caraway D.Kan. May 31, 2024
                 ...Mr. Caraway filed a motion to vacate his 18 U.S.C. § 924(c) conviction and sentence on Count 3 under
                 28 U.S.C. § 2255. Doc. 167. After briefing and a hearing, the parties now agree...


             Negative treatment:        Most recent       Distinguished (0)     All (3)




              7. Michelson v. U.S.
             Supreme Court of the United States • December 20, 1948 • 335 U.S. 469 • 69 S.Ct. 213
                10+ years
             Depth of discussion                  Cited



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                 Superseded by Statute as Stated in People v. Jones Cal.App. 2 Dist. July 28, 2005
                 ...same way on this occasion. Without naming it, appellant has described propensity evidence, which
                 is precisely what is permitted under section 1109 in cases involving domestic violence. (See People v.
                 Johnson (2000) 77 Cal.App.4th 410, 419-420.)Relying upon the common law rule excluding propensity
                 evidence, as discussed in Michelson v. U.S. (1948) 335 U.S. 469, 475-476 , appellant claims that there
                 is an '' 'overriding policy' '' of excluding such evidence, and that the trial court's reliance upon a state
                 evidentiary rule to admit such evidence was a denial of his right to due process under the Fifth and
                 Fourteenth Amendments...


             Negative treatment:        Most recent       Distinguished (32)       All (45)




              8. United States v. Begay
             United States District Court, D. New Mexico. • May 15, 2020 • 497 F.Supp.3d 1025 • 2020 WL 2514661


             Depth of discussion                  Discussed


                 Declined to Follow by Taylor v. City of Chicago N.D.Ill. December 1, 2021
                 ...report simply compares the actions of police interrogators to the indicia of false confessions described in
                 the research. This is ''a sound, accepted, and reliable methodology.''Harris v. City of Chi., No. 14 C 4391,
                 2017 WL 2436316, at *9 (N.D. Ill. June 5, 2017) (St. Eve, J.). Defendants cite United States v. Begay ,
                 in which the court barred false confessions research on the ground that it lacks scientific accuracy. 497 F.
                 Supp. 3d 1025, 1073–74 (D.N.M. 2020) But multiple courts in this district have accepted expert testimony
                 in the field of false confessions. See, e.g.Harris, 2017 WL 2436316...


             Negative treatment:        Most recent       Distinguished (1)       All (2)




              9. Brown v. Petrolite Corp.
             United States Court of Appeals, Fifth Circuit. • July 13, 1992 • 965 F.2d 38 • 1992 WL 141208
                10+ years
             Depth of discussion                  Cited


                 Declined to Follow by Pulla v. Amoco Oil Co. S.D.Iowa November 9, 1994
                 ...Blair v. Boulger, 336 N.W.2d 337, 341 (N.D.1983)cert. denied,464 U.S. 995, 104 S.Ct. 491, 78 L.Ed.2d
                 685 (1983)State ex rel. Okla. Bar Ass'n v. Todd, 833 P.2d 260, 267 (Okla.1992)Time Out, Inc. v. Karras,
                 469 N.W.2d 380, 386 (S.D.1991) Brown v. Petrolite Corp., 965 F.2d 38, 49–50 (5th Cir.1992) (applying
                 Texas law )Allard v. Ford Motor Credit Co., 139 Vt. 162, 422 A.2d 940, 942 (1980)Murray v. Hadid, 238
                 Va. 722, 385 S.E.2d 898, 905 (1989)Garnes v. Fleming Landfill, Inc., 186 W.Va. 656...




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              10. Perrin v. Anderson
             United States Court of Appeals, Tenth Circuit. • February 27, 1986 • 784 F.2d 1040 • 19 Fed. R. Evid.
             Serv. 1564
                10+ years
             Depth of discussion                  Cited


                 Declined to Follow by S.E.C. v. Morelli S.D.N.Y. December 21, 1993
                 ...has attacked defendants' character for truthfulness by bringing this action, they should be permitted
                 to introduce evidence of defendants' truthful character under Fed.R.Evid. 600 In declining to follow the
                 approach of the Fifth and Tenth Circuits set out in Carson v. Polley, 689 F.2d 562 (5th Cir.1982) and
                 Perrin v. Anderson, 784 F.2d 1040 (10th Cir.1986) , the Court finds that despite the allegations in this
                 case of what could constitute criminal conduct, character evidence under Fed.R.Evid. 404(a)(1) is not
                 appropriate in this civil action. By its use of the term ''accused'' in subdivision (a), Rule...


             Negative treatment:        Most recent       Distinguished (6)       All (12)




              11. Roberts v. McAfee, Inc.
             United States Court of Appeals, Ninth Circuit. • November 07, 2011 • 660 F.3d 1156 • 2011 WL 5304115
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by Mireskandari v. Daily Mail and General Trust PLC C.D.Cal. October 8, 2013
                 ...Period Applies to All of Plaintiff's Content Claims Defendants contend that plaintiff's first, fourth, fifth,
                 sixth, seventh, eighth, tenth, thirteenth and fourteenth 37 causes of action (his ''content claims'') are
                 subject to a one-year statute of limitations because they are based on the publication of content.
                 Defendants rely on Roberts v. McAfee, Inc., 660 F.3d 1156, 1166 (9th Cir. 2011) , and McGuiness
                 v. Motor Trend Magazine, 129 Cal.App.3d 59, 63 (1982)38 In Roberts , the Ninth Circuit affirmed the
                 granting of a SLAPP motion and the striking of false light and defamation claims as barred by a one...


             Negative treatment:        Most recent       Distinguished (2)       All (4)




              12. U.S. v. Jones
             United States Court of Appeals, Tenth Circuit. • July 08, 2008 • 530 F.3d 1292 • 2008 WL 2655800
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by United States v. Herrera 10th Cir.(N.M.) October 27, 2022
                 ...Baca haven't alleged good cause; so they've waived their appellate argument for severance. See United
                 States v. White, 584 F.3d 935, 949 (10th Cir. 2009)Our caselaw has evolved on waiver under Rule 12




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                 Granted, we have sometimes reviewed an unpreserved issue of severance for plain error. See, e.g.
                 United States v. Jones, 530 F.3d 1292, 1298 (10th Cir. 2008) United States v. Iiland, 254 F.3d 1264,
                 1269 (10th Cir. 2001) But after these opinions, we clarified in United States v. Bowline that we will not
                 conduct plain-error review for ''an untimely Rule 12 argument'' in the...




              13. U.S. v. Cerno
             United States Court of Appeals, Tenth Circuit. • June 24, 2008 • 529 F.3d 926 • 2008 WL 2502526
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by U.S. v. Corchado-Aguirre 10th Cir.(N.M.) October 19, 2015
                 ...the sentence reduction for a defendant's substantial assistance under U.S.S.G. § 5K1.1 Id. at 1332 No
                 such legal error occurred here. The district court correctly determined that under § 3553(a)(2)(B) it must
                 consider deterrence in imposing sentence on Mr. Corchado–Aguirre.Mr. Corchado–Aguirre's reliance on
                 United States v. Cerno, 529 F.3d 926 (10th Cir.2008) , is similarly unavailing. In Cerno , the district
                 court refused to consider the amount of force used to commit aggravated sexual abuse, stating it was
                 ''not permitted'' to do so. Id. at 939 Because 18 U.S.C. § 3553(a)(1) states...




              14. Lorraine v. Markel American Ins. Co.
             United States District Court, D. Maryland. • May 04, 2007 • 241 F.R.D. 534 • 2007 WL 1300739
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by U.S. v. Lubich U.S. Armed Forces May 3, 2013
                 ...the reliability, accuracy, or trustworthiness of the data NCIS received from NMCI. Lubich urges the
                 court to reverse the CCA and suggests we adopt the type of detailed analyses for the authentication of
                 computerized data set forth in In re Vee Vinhnee, 336 B.R. 437 (9th Cir. BAP 2005), and Lorraine v.
                 Markel, 241 F.R.D. 534 (D.Md.2007) 5 Lubich also relies on this Court's analysis for the authentication
                 of video surveillance footage in United States v. Harris, 55 M.J. 433 (C.A.A.F.2001), as an example of
                 the type of authentication process the court should require for the admission of computerized...




              15. Bains LLC v. Arco Products Co., Div. of Atlantic Richfield Co.
             United States Court of Appeals, Ninth Circuit. • April 19, 2005 • 405 F.3d 764 • 2005 WL 894657
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by Onyx Pharmaceuticals, Inc. v. Bayer Corp. N.D.Cal. September 21, 2011




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                 ...for its position that evidence of Bayer's other alleged wrongdoing cannot support punitive damages.See
                 Reply at 9 (citing O'Neil v. Spillane, 45 Cal.App.3d 147, 161, 119 Cal.Rptr. 245 (1975)BMW of N. Am.,
                 Inc. v. Gore, 517 U.S. 559, 580, 116 S.Ct. 1589, 134 L.Ed.2d 809 (1996) Bains LLC v. Arco Prods.
                 Co., 405 F.3d 764, 776–77 (9th Cir.2005) Lew Wenzel & Co. of S. Cal., Inc. v. London Litho Supply Co.,
                 563 F.2d 1367, 1368 (9th Cir.1977) However, these cases do not stand for the broad proposition that
                 only evidence which is attached...


             Negative treatment:        Most recent       Distinguished (3)       All (4)




              16. U.S. v. Morales
             United States Court of Appeals, Tenth Circuit. • March 11, 1997 • 108 F.3d 1213 • 1997 WL 105027
                10+ years
             Depth of discussion                  Cited


                 Declined to Extend by United States v. Diaz-Menera 10th Cir.(Okla.) February 28, 2023
                 ...s direction to use the base offense level for the underlying offense from which the laundered funds were
                 derived only if the defendant actually committed the underlying offense or would be responsible under the
                 direct-commission subsection of the relevant-conduct guideline.7 Maintaining his counterargument, Diaz-
                 Menera points to United States v. Morales, 108 F.3d 1213 (10th Cir. 1997) The defendant there was
                 convicted of both money laundering and drug conspiracy. Id. at 1215–16 And the district court calculated
                 the Guidelines range based on the defendant's ''involvement in money laundering, rather than pursuant
                 to his conviction of conspiracy...


             Negative treatment:        Most recent       Distinguished (3)       All (5)




              17. New York Times Co. v. Sullivan
             Supreme Court of the United States • March 09, 1964 • 376 U.S. 254 • 84 S.Ct. 710


                10+ years
             Depth of discussion                  Cited


                 Called into Doubt by Jones v. BuzzFeed, Inc. N.D.Ala. March 15, 2022
                 ...shown through evidence that a defendant made the statement with knowledge that it was false or with
                 reckless disregard for the truth. Id. (quoting Barnett v. Mobile County Pers. Bd., 536 So. 2d 46, 54 (Ala.
                 1988)[20][21][22]On the other hand, constitutional malice arises from decisions like New York Times Co.
                 v. Sullivan, 376 U.S. 254, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964) 10 For a public official or figure to recover
                 either compensatory or punitive damages, he must prove that the defendant published a defamatory
                 statement with actual knowledge of its falsity or made with reckless...


             Negative treatment:        Most recent       Distinguished (85)       All (121)




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              18. U.S. v. Smalls
             United States Court of Appeals, Tenth Circuit. • May 03, 2010 • 605 F.3d 765 • 2010 WL 1745123
                10+ years
             Depth of discussion                  Cited


                 Distinguished by United States v. DeLeon D.N.M. May 13, 2019
                 ...by corroborating circumstances that clearly indicate its trustworthiness.''Fed. R. Evid. 804(b)(3)(B)[23]
                 [24]Rule 804(b)(3) embodies ''the commonsense notion that reasonable people, even reasonable people
                 who are not especially honest, tend not to make self-inculpatory statements unless they believe them
                 to be true.'' United States v. Smalls, 605 F.3d 765, 780-81 (10th Cir. 2010) (internal quotation marks
                 omitted)(quoting Williamson v. United States, 512 U.S. 594, 599, 114 S.Ct. 2431, 129 L.Ed.2d 476 (1994)
                 The Tenth Circuit has said: ''We may safely surmise that from time immemorial, only on the rarest...


             Negative treatment:        Most recent       Distinguished (2)       All (2)




              19. U.S. v. Lopez-Medina
             United States Court of Appeals, Tenth Circuit. • February 19, 2010 • 596 F.3d 716 • 2010 WL 569944
                10+ years
             Depth of discussion                  Cited


                 Distinguished by United States v. Woodard 11th Cir.(Fla.) November 30, 2016
                 ...admit the factual basis of the plea agreement to impeach the substance of Reyes's testimony, not to
                 clarify the terms of the plea deal. Thus, by his own argument Woodard was not entitled to introduction
                 of the factual basis pursuant to Rule 106 Woodard cites in support of his argument United States v.
                 Lopez–Medina, 596 F.3d 716 (10th Cir. 2010) , in which the Tenth Circuit held the factual basis of a
                 plea agreement admissible under Rule 106 Id. at 735 But that case is inapposite. There, the defendant
                 introduced a co-defendant's plea agreement to suggest to the jury...


             Negative treatment:        Most recent       Distinguished (4)       All (4)




              20. World Wide Ass'n of Specialty Programs v. Pure, Inc.
             United States Court of Appeals, Tenth Circuit. • June 13, 2006 • 450 F.3d 1132 • 2006 WL 1617318
                10+ years
             Depth of discussion                  Discussed


                 Distinguished by Diamond Ranch Academy, Inc. v. Filer D.Utah February 17, 2016
                 ...a law regulating such programs and requiring each program to be licensed by the state. And the
                 issue has received attention at the federal level. See, e.g., U.S. Gov't Accountability Office, Residential




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                 Treatment Programs: Concerns Regarding Abuse and Death in Certain Programs for Troubled Youth
                 (Oct. 10, 2007); see also World Wide Ass'n of Specialty Programs v. Pure, Inc. (WWASP), 450 F.3d
                 1132, 1137 (10th Cir. 2006 )''[I]t is clear that there exists a public controversy as to the most effective
                 method of treating at-risk teenagers.''Based on the above, the court finds that Ms. Filer has satisfied her...




              21. Lohrenz v. Donnelly
             United States Court of Appeals, District of Columbia Circuit. • December 12, 2003 • 350 F.3d 1272 •
             2003 WL 22927418
                10+ years
             Depth of discussion                  Cited


                 Distinguished by Vasquez v. Whole Foods Market, Inc. D.D.C. March 28, 2023
                 ...malice. The court, however, finds the actual malice standard inapplicable.A limited purpose public figure
                 is a person who has ''assumed a role of especial prominence in the affairs of society that invites attention
                 and comment.''Jankovic v. Int'l Crisis Grp., 822 F.3d 576, 585 (D.C. Cir. 2016) (quoting Lohrenz v.
                 Donnelly, 350 F.3d 1272, 1279 (D.C. Cir. 2003) (cleaned up)). The court conducts a three-part inquiry to
                 determine if a person so qualifies: ''First, the court must identify the relevant controversy and determine
                 whether it is a public controversy. Second, the plaintiff must have played a significant...




              22. Schwartz v. American College of Emergency Physicians
             United States Court of Appeals, Tenth Circuit. • June 15, 2000 • 215 F.3d 1140 • 2000 WL 797329
                10+ years
             Depth of discussion                  Cited


                 Distinguished by Appel v. Wolf S.D.Cal. November 9, 2021
                 ...that the difference between Medicare fraud and securities fraud is not a minor or insignificant
                 inaccuracy. Id.9 Appel distinguishes the cases Wolf relies on as showing his statement was true. Id. at
                 4.) The cases cited by Wolf involved inaccuracies that were insignificant or minor. Id.) He specifically
                 addresses Schwartz , in which the statement that a physician was ''being sued for stock fraud'' was found
                 substantially true based on the physician ''being sued for making deceptive statements related to stock
                 transactions.''Id. (quoting Schwartz v. Am. Coll. of Emergency Physicians, 215 F.3d 1140, 1147 (10th
                 Cir. 2000) )) Appel similarly...




              23. Jefferson County School Dist. No. R-1 v. Moody's Investor's Services, Inc.
             United States Court of Appeals, Tenth Circuit. • May 04, 1999 • 175 F.3d 848 • 1999 WL 270398
                10+ years
             Depth of discussion                  Cited




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                 Distinguished by Niman v. GPS USA, Inc D.Colo. April 27, 2015
                 ...first point, in addition to the fact that this is the first mention of any First Amendment defense in this case,
                 the argument is clearly misplaced here. Although defendants are correct that a plaintiff cannot succeed
                 on a tortious interference claim predicated on speech protected by the First Amendment, see Jefferson
                 Cnty. Sch. Dist. No. R–1 v. Moody's Investor's Servs., Inc., 175 F.3d 848 (10th Cir. 1999) , they make
                 no real argument for why any of Mr. Swenson's speech was protected here.See ECF No. 144 at 17. As
                 a general matter, ''the First Amendment is no bar to...


             Negative treatment:        Most recent       Distinguished (7)       All (7)




              24. Robinson v. Missouri Pacific R. Co.
             United States Court of Appeals, Tenth Circuit. • February 15, 1994 • 16 F.3d 1083 • 1994 WL 48505
                10+ years
             Depth of discussion                  Cited


                 Distinguished by Wade v. Union Pacific Railroad Company D.Colo. May 13, 2014
                 ...1996)This is not a products liability case where a defect or lack of defect was at issue. Indeed, there
                 was no claim that the LaCrosse boot was defective in either design or manufacture.2 Nor was this a case
                 of ''malfunction'' outside of the products liability arena as in Robinson v. Missouri Pacific R. Co., 16
                 F.3d 1083 (10th Cir.1994) (defect in operation of railroad switch). As such, it is not automatic that the
                 substantial similarity test applies—particularly given the matters at issue in this trial.The LaCrosse boot
                 is an overboot—that is, it is worn...


             Negative treatment:        Most recent       Distinguished (3)       All (3)




              25. U.S. v. Kalaydjian
             United States Court of Appeals, Second Circuit. • January 28, 1986 • 784 F.2d 53 • 19 Fed. R. Evid.
             Serv. 1037
                10+ years
             Depth of discussion                  Cited


                 Distinguished by U.S. v. Levy E.D.N.Y. March 20, 2006
                 ...participated directly with the defendant in prior criminal activity and, thus, the testimony was highly
                 probative to establish how an illegal relationship later formed. See United States v. Rosa, 11 F.3d
                 315, 334 (2d Cir.1993)United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d Cir.1990) United States
                 v. Kalaydjian, 784 F.2d 53, 56 n. 3 (2d Cir.1986) United States v. Nektalov, 325 F.Supp.2d 367,
                 372 (S.D.N.Y.2004)United States v. Chen Xiang, No. S1 02 Cr. 271(RCC), 2003 WL 21180400, at *3
                 (S.D.N.Y. May 20, 2003)See also United States v. Dolney...




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              26. U.S. v. Reaves
             United States Court of Appeals, Eighth Circuit. • August 12, 2011 • 649 F.3d 862 • 2011 WL 3518192
                10+ years
             Depth of discussion                  Cited



              27. Mata v. City of Farmington
             United States District Court, D. New Mexico. • June 17, 2011 • 798 F.Supp.2d 1215 • 2011 WL 2533090
                10+ years
             Depth of discussion                  Cited



              28. U.S. v. Cesareo-Ayala
             United States Court of Appeals, Tenth Circuit. • August 12, 2009 • 576 F.3d 1120 • 2009 WL 2450288
                10+ years
             Depth of discussion                  Cited



              29. Boeser v. Sharp
             United States District Court, D. Colorado. • May 14, 2007 • Not Reported in F.Supp.2d • 2007 WL 1430100


                10+ years
             Depth of discussion                  Cited



              30. Ginter v. Northwestern Mut. Life Ins. Co.
             United States District Court, E.D. Kentucky, Covington Division. . • January 16, 1984 • 576 F.Supp. 627
             • 15 Fed. R. Evid. Serv. 914
                10+ years
             Depth of discussion                  Cited



              31. U.S. v. Golden
             United States Court of Appeals, Tenth Circuit. • February 08, 1982 • 671 F.2d 369 • 9 Fed. R. Evid.
             Serv. 1515
                10+ years
             Depth of discussion                  Cited


    Trial Court Orders (0)




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    Regulations (0)


    Secondary Sources (0)


    Administrative Decisions & Guidance (1)



              1. LEE, DONGWOOK V. DEPARTMENT OF THE ARMY
             PERSONNET • September 10, 2021 • 2021 WL 4133804 • AT-1221-20-0216-W-3
                Infrequently cited
             Depth of discussion                  Cited



    Unverified citations (0)




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    3. Quotation analysis
    Use Quotation analysis to compare quotations and surrounding context from the analyzed document to the language
    in the cited documents on Westlaw.

    Key: differences


  1.
              Potential mischaracterization

              The statement is potentially inaccurate because of a contextual inaccuracy. The brief suggests that
              the quoted phrase applies to all evidence, while the excerpt from U.S. v. Cerno indicates that the
              phrase is used in the context of the Rule 403 balancing test, which is a specific rule used to determine
              if evidence's probative value is substantially outweighed by the risk of unfair prejudice. The brief's
              context does not mention this specific application, potentially misleading the reader about the scope of
              the quoted phrase.




           Quotation from the analyzed document                                   U.S. v. Cerno
                                                                             United States Court of Appeals, Tenth Circuit. • June 24,
                                                                             2008 • 529 F.3d 926


        ...for the truth of its contents. See Fed. R. Evid.                ...value of the evidence; the danger of that prejudice
        801(c)(2) . The document is admissible solely to                   must substantially outweigh the evidence's probative
        show the Defendants’ state of mind and knowledge                   value. See United States v. Tan, 254 F.3d 1204,
        of information about Mr. Coomer prior to any alleged               1212 (10th Cir.2001); SEC v. Peters, 978 F.2d 1162,
        statements at issue. United States v. Cerno, 529                   1171 (10th Cir.1992). In engaging in the requisite
        F.3d at 935 (trial courts must give evidence                       balancing, we “give the evidence


            “its maximum reasonable probative force                             its maximum reasonable probative force and
        and its minimum reasonable prejudicial value”                      its minimum reasonable prejudicial value.”

        ). Rather, the document is offered to demonstrate: ·               Deters v. Equifax Credit Info. Servs., Inc., 202
        The justification and reasonableness of Defendants'                F.3d 1262, 1274 (10th Cir.2000). Because district
        statements given publicly available information                    court judges have front-row seats during trial and
        about Mr. Coomer; · The absence of actual malice;                  extensive experience ruling on evidentiary issues,
        · That Defendants' conduct was not “extreme and                    our review affords the district court “considerable
        outrageous” given the context....                                  discretion in performing the Rule 403...




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  2.
           Quotation from the analyzed document                                   United States v. Begay
                                                                             United States District Court, D. New Mexico. • May 15, 2020
                                                                             • 497 F.Supp.3d 1025



        ...prohibits character evidence to prove conduct                   ...probative value, which permits exclusion of
        in conformity therewith, Rule 405(b) expressly                     relevant matter [under rule 403].” United States
        permits evidence of specific instances of conduct                  v. Pettigrew, 468 F.3d 626, 638 (10th Cir. 2006)
        when character is an essential element of a claim or               (quoting United States v. Sides, 944 F.2d 1554,
        defense. The Tenth Circuit has repeatedly reminded                 1563 (10th Cir. 1991)). The Tenth Circuit has
        district courts that they should be “mindful” that                 admonished district courts that they should be
                                                                           “mindful” that

             “exclusion of evidence under Rule 403 that                         “exclusion of evidence under Rule 403 that
        is otherwise admissible under the other rules                      is otherwise admissible under the other rules
        is an extraordinary remedy and should be used                      is an extraordinary remedy and should be used
        sparingly.”                                                        sparingly.”

        United States v. Begay, 497 F. Supp. 3d 1025, 1052                 United States v. Smalls, 605 F.3d 765, 787 (10th
        (D.N.M. 2020) ; citing United States v. Smalls, 605                Cir. 2010)The decision to admit or exclude evidence
        F.3d 765, 787 (10th Cir. 2010) . The trial court's                 pursuant to rule 403 is within the trial court's
        discretion to balance possible unfair prejudice                    discretion, see United States v. Lugo, 170 F.3d 996,
        against probative value is broad. United States v.                 1005 (10th Cir. 1999), and the trial court's discretion
        Begay, 497 F. Supp. 3d 1025, 1052 (D.N.M....                       to balance possible unfair prejudice...




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  3.
           Quotation from the analyzed document                                   Perrin v. Anderson
                                                                             United States Court of Appeals, Tenth Circuit. • February
                                                                             27, 1986 • 784 F.2d 1040


        ...1139. In defamation actions particularly, courts                ...is admissible, proof may be made by testimony
        routinely admit evidence probative of truthfulness                 as to reputation or by testimony in the form of an
        given that a plaintiff's reputation and credibility                opinion. On cross-examination, inquiry is allowable
        are directly at issue. See Perrin v. Anderson, 784                 into relevant specific instances of conduct.(b)
        F.2d 1040, 1045 (10th Cir. 1986) (noting character                 Specific instances of conduct. In cases in which
        evidence is admissible when it constitutes                         character or a trait of character of a person is


            “an essential element of a charge, claim, or                       an essential element of a charge, claim, or
        defense”                                                           defense,

        ). The District of Colorado has specifically addressed             proof may also be made of specific instances of his
        the admissibility of evidence showing untruthful                   conduct.”Testimony concerning specific instances
        conduct in similar contexts. In Ginter v. Northwestern             of conduct is the most convincing, of course, but
        Mut. Life Ins. Co., 576 F. Supp. 627, 630 (D. Colo.                it also “possesses the greatest capacity to arouse
        1984) , the court held that “where the focal issue in a            prejudice, to confuse, to surprise and to consume
        case is the plaintiff's...                                         time.” Fed.R.Evid. 405 advisory committee note....



  4.
           Quotation from the analyzed document                                   U.S. v. Cerno
                                                                             United States Court of Appeals, Tenth Circuit. • June 24,
                                                                             2008 • 529 F.3d 926


        ...To aid consideration of such evidence in                        ...value of the evidence; the danger of that prejudice
        defamation cases, the Tenth Circuit has established                must substantially outweigh the evidence's probative
        three key principles: 1. Evidence is not unfairly                  value. See United States v. Tan, 254 F.3d 1204,
        prejudicial merely because it is damaging. Caraway,                1212 (10th Cir.2001); SEC v. Peters, 978 F.2d 1162,
        at 1301 ; see also United States v. Cerno, 529 F.3d                1171 (10th Cir.1992). In engaging in the requisite
        at 935 (holding trial courts must give evidence                    balancing, we “give the evidence


            “its maximum reasonable probative force                             its maximum reasonable probative force and
        and its minimum reasonable prejudicial value”                      its minimum reasonable prejudicial value.”

        ). 2. When evidence is critical to core issues and its             Deters v. Equifax Credit Info. Servs., Inc., 202
        probative value substantial to assess those issues,                F.3d 1262, 1274 (10th Cir.2000). Because district
        it should rarely be excluded under Rule 403 . See                  court judges have front-row seats during trial and
        United States v. Begay, 497 F. Supp. 3d 1025, 1066                 extensive experience ruling on evidentiary issues,
        (D.N.M. 2020) (holding that prior uncharged acts                   our review affords the district court “considerable
        were admissible because their...                                   discretion in performing the Rule 403...




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  5.
           Quotation from the analyzed document

        ...IN OPPOSITION TO PLAINTIFF’S
        OMNIBUS MOTION IN LIMINE
        _____________________________________________________________________________
        PRELIMINARY STATEMENT Plaintiff Eric Coomer
        has alleged that he suffered millions of dollars in
        reputational damage based on alleged defamatory
        statements and

                                                                                             Quick Check was unable to match this
             “intentional infliction of emotional distress”
                                                                                             quotation to authority on Westlaw.

        caused by, what he claims, were Mr. Lindel’s
        alleged “extreme and outrageous” false statements.
        Mr. Coomer also alleges that he suffered mental
        anguish, reputational injuries, and emotional
        damages. Despite these claims and purported
        injuries, Mr. Coomer now asks the Court to prohibit
        Defendants...



  6.
           Quotation from the analyzed document

        ...1025, 1052 (D.N.M. 2020) (citations omitted). The
        Tenth Circuit has consistently held that character
        evidence is particularly relevant in defamation cases
        where reputation is directly at issue. See World Wide
        Ass’n of Specialty Programs v. Pure, Inc., 450 F.3d
        1132, 1139 (2006) (recognizing that

                                                                                             Quick Check was unable to match this
             "reputation and character are inextricably
                                                                                             quotation to authority on Westlaw.
        intertwined"

        in defamation cases). Additionally, under Rule
        608(b), specific instances of conduct may be
        inquired into on cross-examination if probative of
        truthfulness. New Mexico ex rel. Balderas v. Real
        Estate Law Center, P.C., 409 F.Supp.3d 1122, 1128
        (2019) (allowing cross-examination about specific...




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  7.
           Quotation from the analyzed document

        ...(2019) (allowing cross-examination about specific
        instances of dishonesty). The Court must balance
        the probative value of evidence against the danger
        of unfair prejudice under Rule 403. However,
        evidence is not unfairly prejudicial merely because it
        damages a party's case – the evidence must have

                                                                                             Quick Check was unable to match this
            “an undue tendency to suggest decision on
                                                                                             quotation to authority on Westlaw.
        an improper basis.”

        Fed. R. Evid. 403 advisory committee notes. See
        also Mata v. City of Farmington, 798 F.Supp.2d
        1215, 1227 (D.N.M. 2011) (“The prejudice must
        be unfair in the sense that it would affect the jury's
        ability to weigh the evidence rationally.”) Rule 403
        permits inclusion of evidence when the probative...



  8.
           Quotation from the analyzed document

        ...However, evidence is not unfairly prejudicial
        merely because it damages a party's case – the
        evidence must have “an undue tendency to suggest
        decision on an improper basis.” Fed. R. Evid. 403
        advisory committee notes. See also Mata v. City
        of Farmington, 798 F.Supp.2d 1215, 1227 (D.N.M.
        2011) (

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             “The prejudice must be unfair in the sense
                                                                                             quotation to authority on Westlaw.
        that it would affect the jury's ability to weigh the
        evidence rationally.”

        ) Rule 403 permits inclusion of evidence when
        the probative value is so crucial to a necessary
        issue that Mr. Coomer cannot show any prejudice
        “substantially outweighs” the probative value. See
        United States v. Cerno, 529 F.3d 926, 935 (10th Cir.
        2008) . ARGUMENTI. Evidence of Mr. Coomer's...




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  9.
           Quotation from the analyzed document

        ...“an essential element of a charge, claim, or
        defense”). The District of Colorado has specifically
        addressed the admissibility of evidence showing
        untruthful conduct in similar contexts. In Ginter v.
        Northwestern Mut. Life Ins. Co., 576 F. Supp. 627,
        630 (D. Colo. 1984) , the court held that

                                                                                             Quick Check was unable to match this
             “where the focal issue in a case is the
                                                                                             quotation to authority on Westlaw.
        plaintiff's character... evidence of specific
        instances of conduct becomes admissible.”

        Similarly, in Boeser v. Sharp (D. Colo. 2007), the
        court permitted evidence of specific instances of
        dishonesty when relevant to evaluating credibility.
        The body camera footage shows Mr. Coomer initially
        denying involvement in the accident before later
        admitting to it - conduct that directly...



  10.
           Quotation from the analyzed document

        ...to damages claims); Peterson v. Nelnet Diversified
        Sols., LLC, 400 F.Supp.3d 1122, 1131 (D. Colo.
        2019) (permitting discovery and use of social media
        posts in emotional distress case). B. Religious
        Beliefs Evidence Under Rule 610. While Rule 610
        prohibits evidence of religious beliefs

                                                                                             Quick Check was unable to match this
            “to attack or support the witness’s
                                                                                             quotation to authority on Westlaw.
        credibility,”

        it does not bar such evidence when offered for
        other relevant purposes. See United States v.
        Hoffman, 806 F.3d 1288, 1295 (10th Cir. 2015)
        (distinguishing between prohibited credibility attacks
        and permissible non-credibility purposes). The
        advisory committee notes to Rule 610 clarify that
        the...




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  11.
           Quotation from the analyzed document

        ...does not bar such evidence when offered for
        other relevant purposes. See United States v.
        Hoffman, 806 F.3d 1288, 1295 (10th Cir. 2015)
        (distinguishing between prohibited credibility attacks
        and permissible non-credibility purposes). The
        advisory committee notes to Rule 610 clarify that the
        rule

                                                                                             Quick Check was unable to match this
           “does not bar evidence of religious beliefs
                                                                                             quotation to authority on Westlaw.
        when otherwise relevant.”

        Fed. R. Evid. 601 , Advisory Notes. Here, Mr.
        Coomer's statements about religion are not being
        offered to attack credibility but rather to show (1)
        Mr. Coomer’s pre-existing public persona and
        reputation, (2) context for Defendants' statements,
        and (3) alternative causes of Mr. Coomer’s alleged...


    Unverified citations (0)




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